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                                  UNITED STATES DISTRICT COURT
                              FOR THE MIDDLE DISTRICT OF LOUISIANA



    Florida Gas Transmission Company, LLC
   Plaintiff
   v.                                                                           3:24-cv-00122-BAJ-RLB
   8.22 acres, more or less, situated in Iberville Parish, Louisiana,
                                                                                Civil Action No.
    Murrell Family, L.L.C., and Forest Home Plantation, L.L.C.
   Defendant

                                       CERTIFICATE OF INTERESTED PERSONS


   Pursuant to Local Civil Rule 7.1,
    Defendants, 8.22 acres, more or less, situated in Iberville Parish, Louisiana, Murrell Family, L.L.C., and Forest Home Plantation, L.L.C.



    provides the following information:
            A complete list of all persons, associations of persons, firms, partnerships, corporations,
    guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
    financially interested in the outcome of the case:
    *Please separate names with a comma and do not add address information. Only text visible
    within box will print.
    The following are financially interested in the outcome of this case:

    1. Florida Gas Transmission Company, LLC, a Delaware limited liability company.
    2. Murrell Family, L.L.C., a Louisiana limited liability company.
    3. Forest Home Plantation, L.L.C., a Louisiana limited liability company.




                                                                                Brandon T. Darden (La. Bar # 37089)
                                                                                 Attorney Name and Bar Number

NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil =>
Notices => Certificate of Interested Persons.
